Case 17-35282-MBK           Doc 52
                          Filed 04/15/20 Entered 04/16/20 00:08:48                         Desc Main
                         Document
  UNITED STATES BANKRUPTCY COURT       Page 1 of 2
  DISTRICT OF NEW JERSEY

  Caption in Compliance with D.N.J. LBR 9004-1(b)

  James J Cerbone, Esquire
  2430 Route 34
  Building B, Suite 22
  Wall, NJ 08736
  (732) 681-6800




  In Re:                                                 Case No.:                 17-35282
                                                                            ______________________

   Douglas Benecke                                        Judge:                   MBK
                                                                          ______________________
   Jody Benecke
                                                         Chapter:                    13




                  CHAPTER 13 DEBTOR=S CERTIFICATION IN OPPOSITION


       The debtor in this case opposes the following (choose one):

       1.       ☐ Motion for Relief from the Automatic Stay filed by _____________________________
                                                                     Specialized Loan Servicing, LLC ,
                creditor,

                A hearing has been scheduled for ____________________________, at __________.


                ☐ Motion to Dismiss filed by the Chapter 13 Trustee.

                A hearing has been scheduled for ____________________________, at ___________.


                ☐ Certification of Default filed by _______________________________,

                I am requesting a hearing be scheduled on this matter.


           2.   I oppose the above matter for the following reasons (choose one):

                ☐ Payments have been made in the amount of $ ___________________, but have not
                been accounted for. Documentation in support is attached.
Case 17-35282-MBK         Doc 52       Filed 04/15/20 Entered 04/16/20 00:08:48                  Desc Main
                                      Document      Page 2 of 2



              ☐ Payments have not been made for the following reasons and debtor proposes
              repayment as follows (explain your answer):




              ☐ Other (explain your answer):
              The Debtors propose to make an immediate payment of $7,500 on or before
              04/22/2020. The debtors' attorney proposes to re-capitalize the remainder of the
              arrears making the new trustee payment $1,489 x 32 months.


      3.      This certification is being made in an effort to resolve the issues raised in the certification
              of default or motion.

      4.      I certify under penalty of perjury that the above is true.



Date: _______________________
      04/22/2020                                                   /S/ Douglas Benecke
                                                                  ______________________________
                                                                  Debtor=s Signature

      04/22/2020
Date: _______________________                                     /S/ Jody Benecke
                                                                  ______________________________
                                                                  Debtor=s Signature




NOTES:

1.    Under D.N.J. LBR 4001-1(b)(1), this form must be filed with the court and served on the Chapter
      13 Trustee and creditor, if applicable not later than 7 days before the date of the hearing if filed in
      opposition to a Motion for Relief from the Automatic Stay or Chapter 13 Trustee=s Motion to
      Dismiss.

2.    Under D.N.J. 4001-1 (b)(2), this form must be filed with the court and served on the Chapter 13
      Trustee and creditor, if applicable not later than 14 days after the filing of a Certification of
      Default.




                                                                                                     rev.8/1/15
